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                                          MINUTES



   CASE NUMBER:            CR 02-00133HG
   CASE NAME:              UNITED STATES OF AMERICA v. ROYAL LAMARR
                           HARDY
   ATTY FOR PLA:           Rebecca Ann Perlmutter, AUSA
   ATTY FOR DEFT:          Harlan Y. Kimura, Esq.
   U.S.P.O.:               Derek Kim


        JUDGE:       Richard L. Puglisi          REPORTER:        FTR - C5

        DATE:        March 16, 2018              TIME:            2:13 p.m. - 2:21 p.m.


  COURT ACTION: EP                    PRELIMINARY HEARING

  Defendant is present, in custody.

  Discussion held.

  Based on defendant’s request the Preliminary Hearing is CONTINUED to March 29,
  2018 at 2:00 p.m. before Judge Puglisi.

  The hearing on Order to Show Cause Why Supervised Release Should Not Be Revoked
  set for March 20, 2018 at 1:30 p.m. before Judge Gillmor is VACATED.

  Defendant is remanded to the custody of the United States Marshals Service.


               Submitted by: Mary Feria, Courtroom Manager
